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                              No. 24-60395


           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT


REPUBLICAN NATIONAL COMMITTEE; MISSISSIPPI REPUBLICAN
         PARTY; JAMES PERRY; MATTHEW LAMB,

                                          Plaintiffs-Appellants

                                    v.

JUSTIN WETZEL, in his official capacity as the clerk and registrar of the
   Circuit Court of Harrison County; TONI JO DIAZ, in their official
  capacities as members of the Harrison County Election Commission;
 BECKY PAYNE, in their official capacities as members of the Harrison
  County Election Commission; BARBARA KIMBALL, in their official
  capacities as members of the Harrison County Election Commission;
   CHRISTENE BRICE, in their official capacities as members of the
 Harrison County Election Commission; CAROLYN HANDLER, in their
     official capacities as members of the Harrison County Election
    Commission; MICHAEL WATSON, in his official capacity as the
                     Secretary of State of Mississippi,

                                          Defendants-Appellees

VET VOICE FOUNDATION; MISSISSIPPI ALLIANCE FOR RETIRED
                    AMERICANS,

                                          Intervenor Defendants-Appellees


               LIBERTARIAN PARTY OF MISSISSIPPI,

                                          Plaintiff-Appellant

                                    v.

        (See inside cover for continuation of caption and counsel)
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JUSTIN WETZEL, in his official capacity as the clerk and registrar of the
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  capacities as members of the Harrison County Election Commission;
   CHRISTENE BRICE, in their official capacities as members of the
 Harrison County Election Commission; CAROLYN HANDLER, in their
     official capacities as members of the Harrison County Election
    Commission; MICHAEL WATSON, in his official capacity as the
                     Secretary of State of Mississippi,

                                          Defendants-Appellees


    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
        FOR THE SOUTHERN DISTRICT OF MISSISSIPPI


BRIEF FOR THE UNITED STATES AS AMICUS CURIAE IN SUPPORT
 OF DEFENDANTS-APPELLEES AND SUPPORTING AFFIRMANCE
                ON THE ISSUE ADDRESSED


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               INTEREST OF THE UNITED STATES

     This case presents an important question about the interpretation

of the federal statutes setting a uniform national Election Day, 2 U.S.C.

1, 7; 3 U.S.C. 1 (the Federal Election Day Statutes). Resolution of this

question may affect the United States’ enforcement of the Uniformed

and Overseas Citizens Absentee Voting Act of 1986, 52 U.S.C. 20301-

20311 (UOCAVA), as amended by the Military and Overseas Voter

Empowerment Act of 2009, Pub. L. No. 111-84, Div. A, Tit. V, Subtit. H,

123 Stat. 2318 (MOVE Act). The Attorney General enforces UOCAVA.

52 U.S.C. 20307. The United States thus has an interest in clarifying

that state laws that extend receipt deadlines for mail-in ballots

postmarked by Election Day comport with federal law. This brief is

filed under Federal Rule of Appellate Procedure 29(a).

                      STATEMENT OF THE ISSUE

     The United States addresses the following question only:

     Whether Mississippi’s law allowing mail-in ballots postmarked by

Election Day to be counted if received within five business days of

Election Day comports with the Federal Election Day Statutes.
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                      STATEMENT OF THE CASE

     A.    Legal Background

     1. The Constitution’s Elections Clause grants States the power to

determine “[t]he Times, Places and Manner of holding Elections for

Senators and Representatives,” but provides Congress with authority to

“make or alter such Regulations.” U.S. Const. Art. I, § 4, Cl. 1. The

Elections Clause thus “invests the States with responsibility for the

mechanics of congressional elections . . . so far as Congress declines to

preempt state legislative choices.” Foster v. Love, 522 U.S. 67, 69 (1997)

(citation omitted). The Constitution also grants Congress the power to

“determine the Time of chusing the Electors” for President and Vice

President. U.S. Const. Art. II, § 1, Cl. 4.

     Exercising these powers, Congress has designated “[t]he Tuesday

next after the 1st Monday in November” as the “day for the election” of

Members of Congress and the appointment of presidential electors. 2

U.S.C. 7 (House of Representatives); accord 2 U.S.C. 1 (Senate); 3

U.S.C. 1, 21(1) (electors). Congress first set this date for presidential

elections in 1845, Act of Jan. 23, 1845, ch. 1, 5 Stat. 721, and set the

same election date for the House of Representatives in 1872, Act of Feb.


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2, 1872, ch. 11, § 3, 17 Stat. 28. As States began electing senators

directly, Congress tied their Election Day to that for representatives.

Act of June 4, 1914, ch. 103, § 1, 38 Stat. 384.

     2. In 1986, Congress passed UOCAVA. Pub. L. No. 99-410, 100

Stat. 924 (as amended, 52 U.S.C. 20301-20311). UOCAVA guarantees

the right “to vote by absentee ballot in general, special, primary, and

runoff elections for Federal office” to three categories of voters:

members of the uniformed services away from home on active duty,

their spouses and dependents who are also absent due to that active

service, and United States citizens residing overseas. 52 U.S.C.

20302(a)(1). UOCAVA reflects Congress’s longstanding determination

that “protect[ing] the voting rights of all eligible citizens living, working

or serving their country in uniform and overseas” is an important

national interest, and that the government must “provide a mechanism

so that a person can participate in elections.” H.R. Rep. No. 765, 99th

Cong., 2d Sess. 7, 13 (1986) (UOCAVA House Report).

     Congress went further in 2009 by passing the MOVE Act, which

amended UOCAVA in several ways to provide military and overseas

voters sufficient time to receive, mark, and return their ballots. Pub. L.


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No. 111-84, Div. A, Tit. V, Subtit. H, 123 Stat. 2318 (10 U.S.C. 1566a;

52 U.S.C. 20301, 20302-20308, 20311). The MOVE Act requires States

to transmit validly requested ballots to UOCAVA voters at least 45 days

before elections for federal office when the requests are received by that

date. 52 U.S.C. 20302(a)(8).

     B.     Factual Background

     Mississippi law authorizes voting by mail and counts vote-by-mail

ballots that are “received by the registrar no more than five (5) business

days after the election.” Miss. Code Ann. § 23-15-637(1)(a) (2024). Such

ballots may be counted, however, only if they were “postmarked on or

before the date of the election.” Ibid.

     The plaintiffs in these two consolidated cases—including the

Republican National Committee (RNC) and the Libertarian Party of

Mississippi (LPM)—sued various state and local election officials,

alleging, among other things, that Mississippi’s receipt deadline for

absentee ballots cast by mail conflicts with the Federal Election Day

Statutes. ROA.1161-1162. 1 The parties filed cross-motions for




     1   Two organizations also intervened as defendants. Doc. 35.

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summary judgment. ROA.1162. The district court granted defendants’

motions and denied plaintiffs’. ROA.1182-1183. As relevant here, the

court held that Mississippi’s ballot receipt deadline “operates

consistently with” the Federal Election Day Statutes, because “no ‘final

selection’ is made after the federal election day under Mississippi’s law.”

ROA.1178, 1181. The court also emphasized that Congress has not

stepped in to alter the many state statutes that impose post-Election

Day deadlines for mail-in ballots. ROA.1178-1179.

     Plaintiffs appealed. ROA.1186-1189.

                      SUMMARY OF ARGUMENT

     Counting ballots after Election Day that were mailed by Election

Day fully complies with the Federal Election Day Statutes. An election

occurs for purposes of the Federal Election Day Statutes once all voters

have made their final choice of candidates in compliance with state law.

And States may determine for themselves whether a vote is considered

cast when it is mailed rather than when election officials receive it.

While the Supreme Court has held that a federal election may not

legally conclude before Election Day, nothing in the Federal Election

Day Statutes prevents States from receiving and counting ballots later


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that were properly cast by Election Day. States already must perform

many tasks after Election Day to complete the legal process of holding

an election, and state officials have accepted timely-cast ballots that

arrive after Election Day at least since the Civil War. Congress’s

longtime tolerance for post-Election-Day ballot receipt deadlines, and

its purposes in enacting the Federal Election Day Statutes, confirm that

such deadlines do not violate federal law.

     Furthermore, post-Election-Day ballot receipt deadlines like

Mississippi’s protect military and overseas voters’ right to vote, helping

to fulfill Congress’s design in passing UOCAVA. UOCAVA recognizes

and incorporates States’ different absentee ballot receipt deadlines,

further indicating that all such deadlines comply with the Federal

Election Day Statutes. The United States also routinely seeks and

receives court orders extending ballot receipt deadlines to remedy

violations of UOCAVA.




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                              ARGUMENT

I.   State laws that extend receipt deadlines for mail-in ballots
     postmarked by Election Day comport with the Federal
     Election Day Statutes.

     States may determine for themselves whether to count votes cast

by Election Day under state law but received after that date. As

numerous appellate courts have found, post-Election-Day ballot receipt

deadlines comply with the text of the Federal Election Day Statutes, as

interpreted by the Supreme Court in Foster v. Love, 522 U.S. 67 (1997),

as well as with the statutes’ purposes. See Bognet v. Secretary

Commonwealth of Pa., 980 F.3d 336, 354 (3d Cir. 2020), vacated as moot

sub nom. Bognet v. Degraffenreid, 141 S. Ct. 2508 (2021); Harris v.

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Harris v. Florida Elections Canvassing Comm’n, 122 F. Supp. 2d 1317,

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Boockvar, 238 A.3d 345, 368 & n.23 (Pa. 2020); cf. Bost v. Illinois State

Bd. of Elections, No. 23-2644, 2024 WL 3882901 (7th Cir. Aug. 21, 2024)

(rejecting near-identical challenge to plaintiffs’ on standing grounds).




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     A.    Mississippi’s ballot receipt deadline is consistent with
           the Federal Election Day Statutes’ text.

     1. This Court has stated that, under the Elections Clause, “a

state’s discretion and flexibility in establishing the time, place and

manner of electing its federal representatives has only one limitation:

the state system cannot directly conflict with federal election laws on

the subject.” Voting Integrity Project, Inc. v. Bomer, 199 F.3d 773, 775

(5th Cir. 2000). There is no conflict here. 2 The Federal Election Day


     2  Contrary to LPM’s argument (Br. 13-18), the Supreme Court’s
decision in Arizona v. Inter Tribal Council of Arizona, Inc., 570 U.S. 1
(2013), which held to be preempted a state law that was “inconsistent
with” the National Voter Registration Act, id. at 15 (quoting Ex parte
Siebold, 100 U.S. 371, 397 (1879)), did not abrogate Bomer’s preemption
standard. The Inter Tribal Council Court drew the “inconsistent with”
language from a decision issued 121 years before Bomer. Ibid. Indeed,
Bomer itself used the same language regarding inconsistency. See 199
F.3d at 776 (“Texas[’s] scheme is not inconsistent with the federal
election statutes as interpreted by the court in Foster.”). And the Inter
Tribal Council Court elsewhere made clear that “[t]he straightforward
textual question” in the case, as in Bomer, was whether the state law
“conflicts with the [federal-law] mandate.” 570 U.S. at 9. Indeed, this
Court again relied on Bomer’s “directly conflict” standard in a case
issued months after—and which cited—Inter Tribal Council. See
Voting for Am., Inc. v. Steen, 732 F.3d 382, 399 (5th Cir. 2013).

     But even if Inter Tribal Council’s preemption standard were lower
than Bomer’s, the result in this case would not differ. Inter Tribal
Council simply clarified that Elections Clause legislation must be read
using traditional tools of statutory interpretation, with no presumption
against preemption. See 570 U.S. at 15. As explained herein, the

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Statutes set the first Tuesday after the first Monday in November as

“the day for the election” of Members of Congress, 2 U.S.C. 7; see 2

U.S.C. 1, and presidential electors, 3 U.S.C. 1, 21(1). This language

mandates only when the “election”—the actions “meant to make a final

selection of an officeholder”—must occur. Foster, 522 U.S. at 71. The

text does not otherwise prohibit States from determining how to run

their elections or dictate when a ballot is properly cast or counted. “Put

another way, there is no reason to think that simply because Congress

established a federal election day it displaced all State regulation of the

times for holding federal elections.” Millsaps v. Thompson, 259 F.3d

535, 549 (6th Cir. 2001).

     Accordingly, the Supreme Court has embraced a narrow view of

which state laws the Federal Election Day Statutes preempt. In Foster,

the Court considered Louisiana’s practice of holding an “open primary”

in October of federal election years. 522 U.S. at 68. This primary

“provide[d] an opportunity to fill” Congressional offices “without any

action to be taken on federal election day.” Id. at 68-69. A candidate



Federal Election Day Statutes’ plain meaning is not inconsistent with
Mississippi’s ballot receipt deadline.

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who received a majority of the votes in the open primary was “elected”;

the State held a “runoff” on the federal Election Day only if no

candidate received a majority in the primary. Id. at 70. Over 80% of

Louisiana’s open primaries elected a candidate outright. Ibid.

     While holding that Louisiana’s practice violated 2 U.S.C. 7, the

Court refused to ascribe to the Federal Election Day Statutes a broad

preemptive scope, or to “isolat[e] precisely what acts a State must cause

to be done on federal election day (and not before it) in order to satisfy

the statute[s].” Foster, 522 U.S. at 72. Instead, it determined only “that

a contested selection of candidates for a congressional office that is

concluded as a matter of law before the federal election day, with no act

in law or in fact to take place on the date chosen by Congress,” violates

the Federal Election Day Statutes. Ibid.

     In holding so, the Court interpreted the Federal Election Day

Statutes based on a contemporaneous dictionary that defined “election”

as voters’ “act of choosing a person to fill an office.” Foster, 522 U.S. at

71 (quoting Noah Webster, An American Dictionary of the English

Language 433 (C. Goodrich & N. Porter eds. 1869)). This “act of

choosing” could occur “by any manifestation of [the voters’] preference,”


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including “by ballot.” Noah Webster, Election, An American Dictionary

of the English Language 383 (rev. ed., Chauncey A. Goodrich, ed. 1860),

https://perma.cc/R8CF-9FAN; accord Noah Webster, Election, An

American Dictionary of the English Language 288 (1828),

https://perma.cc/9SVD-48QA. Other contemporaneous dictionaries

likewise define the statutory term “election” by reference to the point at

which voters make their choice. See The Universal English Dictionary

638 (John Craig, ed. 1861) (defining “election” identically to Webster’s);

New Dictionary of the English Language 649 (Charles Richardson, ed.

1846) (defining “elect” as “[t]o choose or pick out”).3

     Mississippi’s ballot receipt deadline complies with Foster, and the

contemporary definitions of “election” on which Foster relied, because it

does not permit a federal election to be “concluded as a matter of law

before the federal election day.” 522 U.S. at 72. Rather, it requires that




     3   Even following appellants’ preferred definition of “election”
(LPM Br. 31; RNC Br. 19), one can just as easily view the “day of a
public choice of officers” as the day on which voters transmit their
ballots—irrevocably making their choice—as one can the day on which
all ballots are received and counted.

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ballots must be cast, and therefore the “public choice” made, no later

than Election Day itself.

     2. In arguing otherwise, plaintiffs stretch Foster far beyond what

its holding and reasoning can bear. They assert that, because the

Foster Court struck down a regime in which all the “combined actions”

of voters and election officials could finish before Election Day, Foster

requires that all such actions must also be completed by Election Day

itself, and not after. LPM Br. 18-19; RNC Br. 25. But Foster says no

such thing. Rather, Foster requires invalidation only of laws that leave

no “act in law or in fact to take place on” Election Day. 522 U.S. at 72.

Mississippi, by contrast, sets Election Day itself as the deadline for the

most significant act of all: the voter’s casting of a vote.

     This Court and others have rejected similar calls to expand Foster

beyond its moorings, holding that various early voting regimes comply

with the Federal Election Day Statutes. See Millsaps, 259 F.3d at 545;

Voting Integrity Project, Inc. v. Keisling, 259 F.3d 1169, 1176 (9th Cir.

2001); Bomer, 199 F.3d at 774. Challengers in those cases made

arguments like the one that plaintiffs make here, albeit on the other

side of Election Day. They asserted “that the federal statutes, by


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establishing ‘the day for the election,’ contemplate that the entire

election, including all voting, will occur that day,” such that counting

any votes submitted before Election Day is illegal. Bomer, 199 F.3d at

775; accord Keisling, 259 F.3d at 1172; Millsaps, 259 F.3d at 546. This

Court rightly rejected those arguments, because “Foster recognized that

some acts pertaining to the election of federal officials would be

performed on days other than the federal election day.” Bomer, 199

F.3d at 776; see Millsaps, 259 F.3d at 545. So too here.

     Plaintiffs also urge that the United States has a limited tradition

of absentee balloting and post-Election-Day ballot receipt. LPM Br. 29-

38; RNC Br. 3-8, 19-24. Their account is incomplete as a factual matter.

See Parts I.B-I.D, infra. Regardless, this Court’s “imperative is to focus

on the text” as interpreted by the Supreme Court, because “[o]nly the

written word is the law.” Texas Democratic Party v. Abbott, 978 F.3d

168, 188 (5th Cir. 2020) (citation omitted). And just as “the plain

language of the statute[s]” allows election officials to receive ballots

before Election Day, a “plain, common sense reading of the language”

also allows state officials to receive and count ballots after Election Day,

if voters’ “final selection” is made by Election Day. Bomer, 199 F.3d at


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776. “[T]his conclusion is consistent with the Supreme Court’s refusal

to give a hyper-technical meaning to ‘election’” in Foster. Ibid.

     B.    Many election activities occur after Election Day,
           confirming that post-Election-Day ballot receipt
           deadlines do not change the election’s date.

     Plaintiffs’ interpretation of the Federal Election Day Statutes also

disregards the myriad activities that state laws require officials to

undertake after Election Day to complete the process of electing federal

officeholders. These universal practices illustrate that federal elections

still are deemed to occur on Election Day, even if key actions essential

to the election occur after that date.

     1. a. First, it is unavoidable that States must continue to count

ballots after Election Day itself. The process of counting votes just to

determine the unofficial results can last hours or days after the polls

close on election night. See, e.g., John Fritze et al., Biden Wins:

Democrat Who Vowed Return to ‘Normalcy’ Defeats Trump in

Cliffhanger Election, USA Today (Nov. 9, 2020, 8:25 a.m.),

https://perma.cc/5QFG-KGG6 (describing the “days of vote-counting”

before the 2020 election could be unofficially called). This was equally

true at the time Congress adopted 2 U.S.C. 7 and 3 U.S.C. 1. See, e.g.,


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Suspense!, Nat’l Republican, Nov. 8, 1876, at 1, https://perma.cc/R44U-

TDBH (detailing partial results from “close” 1876 presidential election

on day after Election Day); The Recent Election—Its Numerous Results,

New York Herald, Nov. 7, 1844, at 2, https://perma.cc/9EZY-2FJ9

(noting that observers were “unable to say who is elected President” two

days after Election Day based on partial returns). “[Y]et votes are not

routinely being thrown out [under the Federal Election Day statutes]

because they could not be counted on election day.” Harris, 122 F.

Supp. 2d at 1325.

     Congress also has ensured that at least some vote-counting will

occur after Election Day. In the Help America Vote Act of 2002

(HAVA), Congress mandated that nearly all States issue provisional

ballots to voters whose eligibility to vote in a jurisdiction is in question

and required poll workers to transmit those ballots to an appropriate

election official for “prompt” verification. 52 U.S.C. 21082(a)(1)-(3).

Only when that official “determines that the individual is eligible under

State law to vote” does HAVA provide that “the individual’s provisional

ballot shall be counted as a vote in that election in accordance with

State law.” 52 U.S.C. 21082(a)(4). This verification process cannot


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reasonably be finished on Election Day, particularly as provisional

ballots often are cast during Election-Day in-person voting. Hence, the

District of Columbia and the 48 States that issue provisional ballots all

set post-Election-Day deadlines for counting them. See What Time Is

Allotted to Determine the Status of Provisional Ballots?, Report:

Provisional Ballots, Nat’l Conf. of State Legislatures (July 9, 2024),

https://perma.cc/3TLH-URVE.

     b. Second, the “actions of . . . officials meant to make a final

selection of an officeholder” continue after a State completes its

unofficial count. Foster, 522 U.S. at 71. Election officials in all States

must canvass the election, preparing final tallies. See Report: Canvass,

Certification and Contested Election Deadlines and Voter Intent Laws,

Nat’l Conf. of State Legislatures (Oct. 26, 2022), https://perma.cc/RVQ2-

59XC. Local officials then send those results to a statewide entity to

conduct a statewide canvass. See ibid. Candidates may contest the

results, and state officials must adjudicate those challenges. See ibid.

Finally, States review the results of the canvass and certify the results.

See ibid. It is only then that States officially determine results and




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declare winners. All these activities take place after Election Day. See

ibid.; Millsaps, 259 F.3d at 546 n.5.

     2. a. Plaintiffs agree that election officials may engage in

“canvassing, tallying, and certifying” after Election Day without

running afoul of the Federal Election Day Statutes. RNC Br. 21; see

LPM Br. 23. But in plaintiffs’ view (RNC Br. 15; LPM Br. 23-25),

Congress’s decision to set an Election Day means that ballots can be

considered timely cast only if they are both sent and received by that

date. Yet plaintiffs cannot explain why, under federal law, the election

is “consummated” at that arbitrary point (LPM Br. 23; RNC Br. 25),

rather than when votes are cast. Federal election law simply does not

draw plaintiffs’ preferred line; it instead focuses on the choice of

officials, and leaves to the individual States the determination of how a

vote is deemed cast. “Providing various options for the time and place

of depositing a completed ballot does not change ‘the day for the

election.’” Millsaps, 259 F.3d at 545 (citation omitted).

     As the Supreme Court recently recognized in a mail-in voting

case, ballots need not be received by election officials to be considered

cast—and it is the casting of the votes that matters for determining


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when the election takes place. See Republican Nat’l Comm. v.

Democratic Nat’l Comm., 589 U.S. 423, 424 (2020) (per curiam)

(“Extending the date by which ballots may be cast by voters—not just

received by the municipal clerks but cast by voters—for an additional six

days after the scheduled election day fundamentally alters the nature of

the election.” (emphasis added)). Because Mississippi’s ballot receipt

deadline requires ballots to be sent out, completed, and postmarked by

Election Day, Miss. Code Ann. § 23-15-637(1)(a) (2024), “the combined

actions of voters and officials meant to make a final selection of an

officeholder” occur by Congress’s chosen date, Foster, 522 U.S. at 71

(emphasis added).

     The principal case plaintiffs cite to buttress their contrary

interpretation in fact refutes it. Maddox v. Board of State Canvassers,

149 P.2d 112 (Mont. 1944), examined a Montana statute that

“provide[d] for voting by ballots deposited with the election officials,” id.

at 115. As a matter of state law, the court determined, votes are not

cast until they are “delivered to the election officials and deposited in

the ballot box before the closing of the polls on election day.” Ibid. The

court recognized that “[t]he federal [Election Day Statutes] and state


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laws must be read together.” Ibid. It thus held that “since the state law

provides for voting by ballots deposited with the election officials, that

act must be completed on the day designated by state and federal laws.”

Ibid. (emphasis added).

     The Maddox court thus properly followed the Federal Election

Day Statutes’ text and deferred to a State’s determination of when a

ballot is cast. But other States are free—and have long been free—to

have different laws providing, for example, that a “vote is cast when the

ballot is marked . . . [and] placed in envelopes and mailed on election

day.” Burke v. State Bd. of Canvassers, 107 P.2d 773, 778 (Kan. 1940).

In both cases, the public choice of officers—and hence the election—

occurs when all ballots are cast in accordance with state law.

     C.    History confirms that post-Election-Day ballot receipt
           deadlines comport with the federal statutes.

     Contemporaneous practice at the time of the Federal Election Day

Statutes’ passage also belies the notion that the word “election”

required election officials’ receipt of cast ballots. During the Civil War,

20 of 25 States, as well as 7 of 11 Confederate States, passed laws

allowing soldiers to vote. Josiah Henry Benton, Voting in the Field 4,

27-28, 312-313, 315 (1915), https://perma.cc/5HGD-K5JC; see also id. at

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269-270 (discussing similar New Jersey law implemented from 1815-

1819). In most of these States, military officers were authorized to set

up polling places in the field, and soldiers would vote for local, state, or

federal offices on the relevant state or federal election day. 4 Military

officers or regular soldiers, rather than local civilian election officials,

usually operated these polling places and collected and counted the

ballots. 5

      Though many States required the officers running the elections to

swear oaths to uphold the state constitution or to fairly conduct the

election, Benton 17, the States did not always “deputize[]” the officers

as state officials (LPM Br. 36, 43-44; see RNC Br. 5). For instance,

Nevada simply placed military polling sites “under the immediate


      4 Benton 15, 17, 43, 49, 63-64, 70-71, 74, 87, 100-101, 106, 115,
122, 129, 156, 171-172, 186, 190, 201-202, 217-218, 239; see, e.g., In re
Opinions of Justs., 45 N.H. 595, 596-597 (1864); Bourland v. Hildreth,
26 Cal. 161, 177 (1864); Morrison v. Springer, 15 Iowa 304, 338 (1863);
Lehman v. McBride, 15 Ohio St. 573, 589 (1863); State ex rel. Chandler
v. Main, 16 Wis. 398, 411 (1863); In re Opinion of Justs., 30 Conn. 591,
591 n.* (1862); Chase v. Miller, 41 Pa. 403, 416 (1862), abrogated by
McLinko v. Department of State, 279 A.3d 539 (Pa. 2022).
      5 See Benton 17, 43, 49, 64, 74, 87-88, 106, 115-116, 122, 129, 156,
171-172, 186, 201-202, 218, 239-240; Morrison, 15 Iowa at 338-339;
State ex rel. Chandler, 16 Wis. at 422; In re Opinion of Justs., 30 Conn.
at 591 n.*.

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charge and direction of the three highest officers in command,” without

requiring any oath. 1866 Nev. Stat. 215, https://perma.cc/KM66-RCLE;

see Benton 171-173. Likewise, Rhode Island merely required soldiers to

“deliver” their ballots to their “commanding officer[s]” on Election Day.

Benton 186-187 (citation omitted). And until 1864, Pennsylvania

allowed soldiers to vote “at such place as may be appointed by the

commanding officer,” with no other regulations. Benton 190.

     While soldiers cast these votes on the congressionally mandated

federal Election Day for presidential elections, the soldiers’ ballots still

had to be sent back to election officials in their home States so those

officials could canvass the votes and add the valid ones to the totals cast

by other voters. This fact meant that soldiers’ votes were not “received

by the proper state election official” (LPM Br. 22) until after the dates

that 3 U.S.C. 1 or state law set as the relevant election day. 6 States




     6 See Benton 43, 64, 71-72, 74, 89, 100-101, 106, 116-117, 123-124,
129, 156, 171-172, 186-187, 218-219, 240-241; Lehman, 15 Ohio St. at
603-604 (noting that Ohio’s law “extend[ed] the time for receiving and
opening the returns of votes cast under the act”); In re Opinion of Justs.,
30 Conn. at 591 n.* (“[A]ll the ballots cast . . . shall be sealed up by the
commanding officer, and be by him forthwith transmitted by mail to the
secretary of state at Hartford.”).

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often gave military voters until the deadline for canvassing in-state

ballots to have their votes delivered to state election officials, and some

States even extended their canvassing periods to accommodate the

military vote. Benton 317-318. 7

      Congress presumably was aware of the States’ widespread

practice when, eight years after the Civil War’s end, it enacted 2 U.S.C.

7 without requiring votes to be both cast and received by Election Day.

Congress also did not amend 3 U.S.C. 1 to disturb States’

understanding that ballots could be counted in presidential elections

when submitted by voters on Election Day, even when those ballots

would not be received by local election officials until a later date. Just

as States were free during the Civil War to determine that ballots were

cast when submitted to designated military officers or commissioners,

they remain free now to determine that ballots are cast once mailed and

out of the voter’s control.



      7  Some States chose to appoint commissioners to visit each
regiment, collect soldiers’ ballots, and return them to local election
officials, in a manner not dissimilar to absentee voting. E.g., Benton
71-72, 180. To say, then, that neither Congress nor the public could
have contemplated deeming votes cast when submitted (LPM Br. 33-35)
is speculative at best.

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         D.   Congress has never repudiated or expressed
              disapproval of post-Election-Day ballot receipt
              deadlines.

         Mississippi’s law draws additional support from “the long history

of congressional tolerance, despite the federal election day statute, of

absentee balloting” with post-Election-Day receipt deadlines. Keisling,

259 F.3d at 1175; accord Bomer, 199 F.3d at 776. Mississippi is one of

18 States—plus the District of Columbia, Puerto Rico, Guam, and the

U.S. Virgin Islands—that accept absentee ballots received after Election

Day if they are mailed on or before Election Day. See Table 11: Receipt

and Postmark Deadlines for Absentee/Mail Ballots, Nat’l Conf. of State

Legislatures (July 12, 2022), https://perma.cc/NX5Y-2ETA; 3 Guam

Code Ann. § 10114 (2024).8 And 11 more States accept absentee ballots

from UOCAVA voters that are mailed by, but received after, Election

Day. 9


        North Dakota currently accepts ballots for longer after Election
         8

Day, N.D. Cent. Code §§ 16.1-07-09, 16.1-07-26, 16.1-15-17 (2024), and
Ohio for less time, Ohio Rev. Code Ann. § 3509.05(D)(2)(a) (West 2024),
than listed in this table. North Carolina eliminated post-Election-Day
ballot receipt for non-UOCAVA voters in October 2023. See 2023 N.C.
Sess. Laws 140, § 35.

       See Ala. Code § 17-11-18(b) (2024); Ark. Code. Ann. § 7-5-
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411(a)(1)(A)(ii) (2024); Fla. Stat. § 101.6952(5) (2024); Ga. Code Ann.

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     Contrary to plaintiffs’ claims (RNC Br. 22-23; LPM Br. 39-41),

many of these statutes have existed for decades, with some passed a

century ago. See, e.g., Neb. Comp. Stat. §§ 2007, 2009, 2011, 2035

(1921) (received before county canvassing board convenes, up to six days

after Election Day); Cal. Pol. Code § 1360 (1923) (mailed by Election

Day and received by 14 days after); Kan. Stat. § 25-1106 (1929) (mailed

by Election Day and received by ten days after); Mo. Rev. Stat. § 10135

(1933) (postmarked by Election Day and received by the day after),

https://perma.cc/GPU9-X2VZ; 1933 Wash. Sess. Laws Extraordinary

Sess. 102-103 (postmarked by Election Day and received by canvassing

six days after), https://perma.cc/3D85-LVAW.

     Congress’s continued tolerance of laws like Mississippi’s

illustrates that a “[d]eadline [e]xtension and federal laws setting the

date for federal elections can, and indeed do, operate harmoniously.”

Bognet, 980 F.3d at 354. This Court should decline plaintiffs’ invitation




§ 21-2-386(a)(1)(G) (2024); Ind. Code § 3-12-1-17(b) (2024); Mich. Comp.
Laws § 168.759a(18) (2024); Mo. Rev. Stat. § 115.920(1) (2024); N.C.
Gen. Stat. §§ 163-258.10, 163.258.12 (2024); 25 Pa. Cons. Stat. § 3511(a)
(2024); R.I. Gen. Laws § 17-20-16 (2024); S.C. Code Ann. §§ 7-15-700(A),
7-17-10 (2024).

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“to read the federal election day statutes in a manner that would

prohibit such a” widespread, “longstanding practice of which Congress

was obviously well aware.” Bomer, 199 F.3d at 776. Indeed, if

anything, Congress has expressed a strong preference for enlarging

access to mail-in voting. See id. at 776-777. Provisions of UOCAVA, pp.

28-30, infra, HAVA, 52 U.S.C. 21083(b)(2)(B)(ii), and the Voting

Accessibility for the Elderly and Handicapped Act, 52 U.S.C.

20102(b)(2)(B)(ii), for instance, all provide explicitly for or reduce

barriers to absentee voting.

     Section 202 of the Voting Rights Act, 52 U.S.C. 10502, passed in

1970, further illustrates how federal and state voting laws work in

harmony. Concerned with “the lack of sufficient opportunities for

absentee registration and absentee balloting in presidential elections,”

52 U.S.C. 10502(a)(1), Congress required all States to allow absentee

voting for those who timely apply and “return[] such ballots to the

appropriate election official of such State not later than the time of

closing of the polls in such State on the day of such election,” 52 U.S.C.

10502(d). While the statute thus requires States to count qualifying

absentee ballots for President received by Election Day—thereby


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preempting earlier state deadlines—Congress specifically permitted

States to “adopt[] less restrictive voting practices than” the statute

mandates. 52 U.S.C. 10502(g).

     Congress passed Section 202 with full knowledge that some States

had post-Election-Day ballot receipt deadlines: The provision’s sponsor,

Senator Barry Goldwater, provided research informing Congress that

40 States at the time already “expressly permit[ted] absentee ballots of

certain categories of their voters to be returned as late as the day of the

election or even later.” 116 Cong. Rec. 6996 (1970) (statement of Sen.

Goldwater) (emphasis added). And far from requiring all ballots to be

received by Election Day (RNC Br. 32-33), Congress expressly

authorized States to be “less restrictive” than federal law by accepting

absentee ballots past Election Day, 52 U.S.C. 10502(g). Reading the

Federal Election Day Statutes harmoniously with Section 202, as they

must be, see Epic Sys. Corp. v. Lewis, 584 U.S. 497, 510 (2018), confirms

that they do not prohibit post-Election-Day ballot receipt deadlines. 10


     10  The recently enacted Electoral Count Reform Act (ECRA) does
not alter the calculus. Contra LPM Br. 28-29. The ECRA redefines
“election day” to accommodate “force majeure events” if state law so
allows. 3 U.S.C. 21(1). But the ECRA fully “modifies the period of

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     E.    Applying Mississippi’s ballot receipt deadline does not
           conflict with Congress’s purposes in enacting the
           Federal Election Day Statutes.

     Because the Federal Election Day Statutes’ text does not prohibit

Mississippi’s ballot receipt deadline, consideration of the statutes’

“purpose” is “unnecessary.” Seago v. O’Malley, 91 F.4th 386, 393 (5th

Cir. 2024); see also Arizona v. Inter Tribal Council of Ariz., Inc., 570

U.S. 1, 15 (2013) (stating that “there is no compelling reason not to read

Elections Clause legislation simply to mean what it says”). However,

the legality of Mississippi’s ballot receipt deadline “is buttressed by an

appreciation of Congress’s object” in enacting the Federal Election Day

Statutes. Foster, 522 U.S. at 73.

     As the Supreme Court noted in Foster, in enacting a uniform

Election Day, “Congress was concerned” with two principal problems:

(1) “the distortion of the voting process threatened when the results of


voting” in such cases, ibid., allowing voters not merely to have their
ballots counted if received by the new date but to cast their ballots by
that date. The ECRA thus authorizes a change in the federal Election
Day itself under certain circumstances, but it says nothing about how
long after that date a ballot may be received to be counted. The
statutes’ other exceptions shed no more light on ballot receipt deadlines
(contra RNC Br. 20-21): They authorize entirely new elections—with
new ballots and new rounds of voting—to fill vacancies or hold runoffs,
2 U.S.C. 8.

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an early federal election in one State can influence later voting in other

States,” and (2) “the burden on citizens forced to turn out on two

different election days to make final selections of federal officers in

Presidential election years.” 522 U.S. at 73. Mississippi’s ballot receipt

deadline implicates neither concern. First, Mississippi law requires

that voters must vote and mail in their ballots by Election Day, before

any election results are publicized. Miss. Code Ann. § 23-15-637(1)(a)

(2024). And second, the ballot receipt deadline applies equally to all

federal elections, which maintain the same, federally prescribed

Election Day. Ibid.

II.   Mississippi’s ballot receipt deadline protects military and
      overseas voters.

      Laws like Mississippi’s also provide critical protection for

UOCAVA voters. The extended deadline ensures that these voters can

receive, cast, and return their ballots in time for them to be counted.

      Today, absentee voting laws generally are the only means by

which American citizens deployed in the uniformed services or

otherwise living overseas can exercise their right to vote. Prior to

UOCAVA’s adoption, the “single largest reason for disenfranchisement

of military and overseas voters [was] State failure to provide adequate

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ballot transit time.” UOCAVA House Report 10. After problems

persisted with delayed UOCAVA ballots, Congress further addressed

the issue through the MOVE Act. To “allow absent uniformed services

voters and overseas voters enough time to vote,” 52 U.S.C.

20302(g)(1)(A), the Act “require[s] States to transmit a validly

requested absentee ballot to an absent uniformed services voter or

overseas voter at least 45 days before an election for federal office,” H.R.

Rep. No. 288, 111th Cong., 1st Sess. 744 (2009) (Conf. Rep.); see 52

U.S.C. 20302(a)(8)(A). This history of congressional action reflects a

strong commitment to ensuring that military service members and

overseas citizens enjoy access to the ballot box comparable to that of

domestic civilians.

     Indeed, UOCAVA recognizes and honors States’ varying ballot

receipt deadlines. Under UOCAVA, States must “permit absent

uniformed services voters and overseas voters to . . . vote by absentee

ballot in . . . elections for Federal office.” 52 U.S.C. 20302(a)(1). Should

covered voters request state absentee ballots but not receive them by 30

days before a federal election, the voters can submit alternative federal

absentee ballots that are “submitted and processed in the manner


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provided by law for absentee ballots in the State involved.” 52 U.S.C.

20303(b). The federal ballots would not be counted, however, if the

voters’ state absentee ballots ended up being “received by the

appropriate State election official not later than the deadline for receipt

of the State absentee ballot under State law.” 52 U.S.C. 20303(b)(3).

UOCAVA could have, but did not, set Election Day as a backstop receipt

deadline. Instead, it expressly incorporated States’ various deadlines.

See UOCAVA House Report 14.

     The MOVE Act continued this deference to States’ ballot receipt

deadlines. It added a provision that required federal and state officials

to ensure that overseas servicemembers’ marked ballots for general

federal elections are delivered, not necessarily by the federal Election

Day, but rather by whatever “date by which an absentee ballot must be

received in order to be counted in the election.” 52 U.S.C. 20302(a)(10),

20304(b)(1). Congress’s deference to States’ ballot receipt deadlines

further confirms that federal law maintains States’ freedom to decide

the point at which a ballot is considered cast.

     Since UOCAVA’s enactment, the United States repeatedly has

enforced the statute against States that transmitted ballots late, to


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prevent military and overseas voters from being disenfranchised in

federal elections. See, e.g., United States v. Alabama, 857 F. Supp. 2d

1236, 1242 (M.D. Ala. 2012); United States v. New York, No. 1:10-cv-

1214, 2012 WL 254263, at *1 (N.D.N.Y. Jan. 27, 2012). In most of these

cases, the remedy has involved extending the receipt deadline beyond

Election Day for UOCAVA voters’ absentee ballots cast by Election Day.

The United States has secured the extension of UOCAVA ballot receipt

deadlines by court-ordered consent decrees, court orders, or settlement

agreements as a remedy for the late transmission of UOCAVA ballots

since the statute’s enactment in 1986. See, e.g., Consent Decree, United

States v. Idaho, No. 88-cv-1187 (D. Idaho May 21, 1988; entered May

23, 1988).

     Since the year 2000 alone, the United States has secured such

ballot receipt extensions in 29 of its cases and agreements. See U.S.

Dep’t of Just., Cases Raising Claims Under the Uniformed and Overseas

Citizen Absentee Voting Act (Mar. 24, 2022), https://perma.cc/CQG5-

M4PH. Many of the agreements or court orders that the United States

has obtained to remedy UOCAVA violations have extended ballot

receipt deadlines for UOCAVA voters for a period after Election Day


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equal to the number of days after the federal-law deadline that the

States transmitted the UOCAVA ballots. See, e.g., Consent Decree,

United States v. West Virginia, No. 2:14-cv-27456 (S.D. W. Va. Nov. 3,

2014) (extending receipt deadline by seven days); Consent Decree,

Idaho, supra (extending deadline by ten days).

     This form of relief for UOCAVA violations provides sufficient

opportunity for military and overseas voters to return their ballots by

extending the receipt deadline, while also providing that ballots must

be executed and sent by Election Day. Mississippi’s ballot receipt

deadline operates the same way. By requiring ballots to be postmarked

by Election Day, Mississippi ensures that all valid votes are cast by

Election Day, thereby complying with the Federal Election Day

Statutes. But by allowing additional time for election officials to receive

those cast ballots, the ballot receipt deadline protects UOCAVA voters’

right to have their valid votes counted.




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                           CONCLUSION

     The Court should affirm on the issue addressed.

                                          Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limit of Federal Rules of

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